              Case 1-16-44229-ess            Doc 66        Filed 02/28/19   Entered 02/28/19 14:16:10


ORTIZ & ORTIZ, L.L.P.                                               Hearing Date: March 14, 2019
32-72 Steinway Street , Suite 402                                   Time:         9:30 a.m.
Astoria, New York 11103
Tel. (718) 522-1117
Fax (718) 596-1302
email@ortizandortiz.com
Martha J. de Jesus, Esq.
Attorneys for the Debtor

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re
                                                                            CASE NO. 16-44229-ESS
JAMES HO,
a.k.a. JAMES SING CHAN CHO,
a.k.a. SING C CHAN-HO,                                                      CHAPTER 13
a.k.a. JAMES SING CHAM HO,
a.k.a. JAMES SING HO,

                                    Debtor.
-------------------------------------------------------x
    AMENDED COVER SHEET FOR FIRST AND FINAL APPLICATION OF ORTIZ & ORTIZ,
  L.L.P., FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES AS
                              LEGAL COUNSEL TO THE CHAPTER 13 DEBTOR

Name of Applicant:                                                  Ortiz & Ortiz, L.L.P.

Authorized to Provide Professional Services to:                     James Ho

Period for Which Compensation is sought for:                        September 22, 2016 - January 15, 2019

Amount of Expense Reimbursement Sought:                             $ 353.50

Amount of Fees Sought:                                              $ 9,646.25

Prior Award of Compensation:                                        None

Billing Parties:
        Name              Position      Year Admitted         Hourly Rate      Hours Billed   Total Compensation
 Norma E. Ortiz          Partner               1988             $350.00            5.4             $1,890.00
 Martha de Jesus         Associate             2014             $250.00           23.15            $6,311.25
 Juan P. Parodi          Paralegal       Not Applicable         $100.00            4.35            $435.00
 Athena Gonzalez         Paralegal      Not Applicable          $100.00            10              $1,000.00
 Cynthia Narea           Paralegal      Not Applicable          $100.00            0.1              $10.00
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ORTIZ & ORTIZ, L.L.P.                                               Hearing Date: March 14, 2019
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Attorneys for the Debtor


UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re
                                                                          Case No. 16-44229-ESS
JAMES HO,
a.k.a. JAMES SING CHAN CHO,
a.k.a. SING C CHAN-HO,                                                    Chapter 13
a.k.a. JAMES SING CHAM HO,
a.k.a. JAMES SING HO,

                                    Debtor.
-------------------------------------------------------x

                              AMENDED
  NOTICE OF HEARING ON THE FIRST AND FINAL APPLICATION OF ORTIZ &
 ORTIZ, L.L.P., FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT
      OF EXPENSES AS LEGAL COUNSEL TO THE CHAPTER 13 DEBTOR

        PLEASE TAKE NOTICE, that upon the annexed application (the “Application”) of

Ortiz & Ortiz, L.L.P. (the “O & O”), the undersigned will move this Court before the Honorable

Elizabeth S. Strong United States Bankruptcy Judge, at the United States Bankruptcy Court, 271-

C Cadman Plaza East, Brooklyn, New York, 11201, on the 14th day of March, 2019, at 9:30 a.m,

for the entry of an order allowing compensation and reimbursement of expenses incurred in this

Chapter 13 case, together with such other and further relief as is just, proper and equitable under

the circumstances.

        PLEASE TAKE FURTHER NOTICE, that objections, if any, to the relief requested in
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the Application must be made in writing and must be filed with the Clerk of the Bankruptcy

Court electronically at www.nyeb.uscourts.gov. If you do not have the ability to file an objection

electronically, the objection may be filed with the Clerk of the Court by presenting the Clerk with

a copy of the objection saved in .pdf format. A copy of the objection must be provided to (a) the

Chambers of the Honorable Elizabeth S. Strong, (b) Ortiz & Ortiz, LLP, at the address listed

below, and (c) all parties filing Notices of Appearance, so as to be received no later than seven

(7) days prior to the hearing. The objection must comply with the Bankruptcy Rules and the

Local Bankruptcy Rules of the court and must state with particularity the legal and factual bases

for such objection.

Dated: February 28, 2019
       Astoria, NY
                                                              /s/Martha J. de Jesus
                                                             Martha J. de Jesus, Esq.
                                                             Ortiz & Ortiz, L.L.P.
                                                             32-72 Steinway Street, Suite 402
                                                             Astoria, New York 11103
                                                             Tel. (718) 522-1117
                                                             Fax (718) 596-1302
                                                             Attorneys for the Debtor
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Martha J. de Jesus, Esq.
Attorneys for the Debtor



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re
                                                                        Case No. 16-44229-ESS
JAMES HO,
a.k.a. JAMES SING CHAN CHO,
a.k.a. SING C CHAN-HO,                                                  Chapter 13
a.k.a. JAMES SING CHAM HO,
a.k.a. JAMES SING HO,

                                    Debtor.
-------------------------------------------------------x


                                   AMENDED
             FIRST AND FINAL FEE APPLICATION FOR ALLOWANCE OF
             COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
                   ORTIZ & ORTIZ, L.L.P, AS DEBTOR’S COUNSEL


        Pursuant to, among other things, 11 U.S.C. § 331, Fed. R. Bankr. P. 2016, the United

States Trustee’s Guidelines for Reviewing Applications for Compensation and Reimbursement

of Expenses Filed under 11 U.S.C. § 331, and Local Bankr. R. 2016-1, Ortiz & Ortiz, L.L.P. (the

“O & O”) seeks entry of an order approving its request for an award of $9,646.25 for final

compensation and $353.50 for reimbursement of expenses as the above-captioned Debtor’s

Counsel. In support of its request, O & O states as follows:
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                                          Background

       1.      On September 22, 2016 (the “Petition Date”), James Ho (the “Debtor”) filed a

petition for relief under Chapter 13.

       2.      On September 22, 2016, Marianne DeRosa was appointed as the Chapter 13

Trustee (the “Trustee”) in the Debtor’s case.

       3.      The following narrative summarizes the services rendered by O & O, to the

Trustee in the period commencing September 22, 2016, through January 15, 2019. This narrative

is not intended to be a comprehensive description of all services rendered during this period. For

such description, see the detailed billing statements attached as Exhibit A. The Applicant

rendered the following legal services:

               a.      Preparation and Filing of Debtor’s Petition, statements, schedules and

                       other legal documents;

               b.      Conferences with the Debtor;

               c.      Preparation and Service of Debtor’s Chapter 13 Plan;

               d.      Amendments to Debtor’s Schedules and Plan;

               e.      Attendance at all Court Hearings;

               f.      Resolution of opposition to Confirmation;

               g.      Review of Debtor’s household income and assistance with operating

                       reports; and

               h.      Defense of post-confirmation motion for relief from the automatic stay.

       4.     All of the professional services were rendered solely in connection with this case

on behalf of the Debtor.



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       5.      On June 6, 2016, the Debtor and the Applicant entered into a retainer agreement.

A copy of the retainer agreement is attached as Exhibit A. The Applicant received a pre-petition

payment of $3,50.00 from the Debtor. Prior to the Petition Date, my office billed the Debtor

$635 for services rendered in anticipation of filing the bankruptcy case. As a result, the Debtor

had a remaining credit balance of $2,865 for the work performed on the Debtor’s chapter 13 case

after the Petition Date.

       6.      The Applicant’s time records for the services performed on behalf of the Debtor by

the Applicant’s partner, associate, and paralegals from September 22, 2016, through January 15,

2019 is attached as Exhibit B. All time is billed in three to six minutes increments. As set forth

therein, the Applicant devoted 39.5 hours to this matter during this period of time, having a value

of $9,167.50 at the Applicant’s billing rates.

       7.      The names of the partner, associate, and paralegals involved in this matter, the

time spent by each of them, and their normal billing rates in matters of this type are:



                                                                   Hourly Rate
   Name of Professional              Title             Hours                                Fee
                                                                     (Blended)

 Norma E. Ortiz                     Partner             5.4           $350.00         $1,890.00
 Martha de Jesus                  Associate            23.15          $275.00         $6,311.25
 Juan P. Parodi                    Paralegal            4.35          $100.00             $435.00
 Athena Gonzalez                   Paralegal            10            $100.00         $1,000.00
 Cynthia Narea                     Paralegal            0.1           $100.00             $10.00
                                       TOTAL            39.5                          $9,646.25
                                                           Expenses Incurred              $ 353.50
                                       Pre-petition Credit for Retainer Payment       -$2,865.00
                                                          Outstanding Balance         $6,781.25


                                                   3
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        8.     The Applicant’s experience indicates that all time actually devoted by its partner,

associate, and paralegals with respect to a client’s affairs is not always entered in its time records.

Occasionally, such staff members do not record all the time spent in legal matters, such as short

conferences and miscellaneous telephone calls. For these reasons, the Court should regard the

aggregate of recorded hours reported in the time records attached as part of Exhibit A to be a

conservative compilation of the time actually expended.

        9.     The Debtor’s chapter 13 plan was confirmed on December 11, 2017.

        10.    There were three secured claim filed in this case. The first by American Honda

Financial Corp. for the Debtor’s car lease in the amount of $20,331.27. The Debtor was current

on his lease obligation and the plan is not curing any arrears for the Debtor’s car. The second

secured claim was filed by JPMorgan Chase Bank, National Association (“Chase”) for the first

mortgage on the Debtor’s home. The Debtor was one month behind on his payments and the

plan paid $1,060.91 in arrears for this claim. The third secured claim was also filed by Chase for

the second mortgage secured by the Debtor’s home. The Debtor was current on his payment for

the second mortgage. As result, the majority of the Debtor’s plan went to pay his unsecured

creditors.

        11.    The total payments of the Debtor’s confirmed plan are $41,750.00. The total of

secured and priority claims paid this case was $1,060.91. After paying the trustee’s commission

for this case, there is a balance of $37,575.00 to pay for all other creditors.

        12.    The Debtor has made payments pursuant to the confirmed plan for the past

twenty-eight (28) months. In total, the Debtor has paid into his plan the sum of $17,750.00.

There are thirty-two (32) remaining months in the plan for a total payment of $24,000.00.



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                                        RELIEF REQUESTED

       13.     The Applicant rendered services in excess of the amount covered by the initial

retainer paid by the Debtor of $6,656.00. Given the amount of remaining funds available in this

case of $24,000.00, the Applicant requests a full award of fees in the amount of $6,656.00 for its

legal services rendered in this case.

       14.     Section 330(a)(4)(B) states that in a “chapter 13 case in which the debtor is an

individual, the court may allow reasonable compensation to the debtor’s attorney for representing

the interests of the debtor in connection with the bankruptcy case based on a consideration of the

benefit and necessity of such services to the debtor and the other factors set forth in this section.”

Other factors listed in the section include:

               (A) the time spent on such services;

               (B) the rates charged for such services;

               (C) whether the services were necessary to the administration of, or beneficial at

               the time at which the service was rendered toward the completion of, a case under

               this title;

               (D) whether the services were performed within a reasonable amount of time

               commensurate with the complexity, importance, and nature of the problem, issue,

               or task addressed;

               (E) with respect to a professional person, whether the person is board certified or

               otherwise has demonstrated skill and experience in the bankruptcy field; and

               (F) whether the compensation is reasonable based on the customary compensation

               charged by comparably skilled practitioners in cases other than cases under this

               title.

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11 U.S.C. § 330(a)(3), see also In re Moukazis, 479 B.R. 247 (Bankr. E.D.N.Y. 2012); In re

Wesseldine, 434 B.R. 31, 36 (Bankr. N.D.N.Y. 2010);

       15.     Bankruptcy courts have conducted a three-step process in determining the

reasonableness of requests for compensation. First, the courts attempt to ascertain the nature and

extent of the services rendered by an applicant. Second, the courts attempt to assess the value

and quality of the services rendered by the applicant. Third, after a review of the first two steps,

the courts have fixed the reasonable amount of compensation.

       16.     It is respectfully submitted that the Applicant has described the nature and extent

of the services performed on behalf of the Debtor: the Debtor was able to confirm his chapter 13

plan due to the services provided by the applicant, and resolve a post-confirmation motion for

relief from the automatic stay. As a result, all of the criteria by which Bankruptcy Courts have

measured the fair and reasonable value of services rendered have been exhibited by the

Applicant.

       17.     The Applicant performed services on behalf of the Debtor beyond just obtaining a

confirmation of the Debtor’s chapter 13 plan. The Applicant assisted in the Debtor’s filing of

operating reports for his self-employment income and in-depth analysis of the Debtor’s

household income. These services were required in the administration of the Debtor’s case and

resulted in his confirmation. On July 2, 2018, Chase filed a motion for post-petition relief from

the automatic stay. The Applicant reviewed 2 years of operating reports and bank statements to

confirm the payment history of the Debtor’s loan. The result of the Applicant’s work was a

reduction in the arrears alleged by the creditor and a negotiated repayment plan with the creditor

to cure the arrears owed.

       18.     After considering the time expended and the nature, extent, and value of the

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services performed by the Applicant, it is respectfully submitting that the full amount of

additional fees requested herein the amount of $6,781.25 and reimbursement of expenses of

$353.50 are reasonable under the circumstances of this case.

       19.     Applicant filed no prior applications for fees in this case.

                                             NOTICE

       20.     Notice of this application has been provided to all interested parties, the Debtor,

the chapter 13 trustee, and the United States Trustee.

       WHEREFORE, the Applicant respectfully requests for the entry of an Order granting

Final Allowances to Ortiz & Ortiz, L.L.P., in the amount of $9,646.25 and reimbursement of

expenses of $353.50, for services rendered as attorneys for the Debtor in his Chapter 13

Proceedings during the period of September 22, 2016, to January 15, 2019, permitting the

chapter 13 trustee to disburse to the Applicant additional fees in the amount of $6,781.25, and

expenses of $353.50 from the Debtor’s plan payment, and for such other and further relief as the

Court may deem, just, proper and equitable.

Dated: February 28, 2019
       Astoria, NY
                                                               /s/Martha J. de Jesus
                                                              Martha J. de Jesus, Esq.
                                                              Ortiz & Ortiz, L.L.P.
                                                              32-72 Steinway Street, Suite 402
                                                              Astoria, New York 11103
                                                              Tel. (718) 522-1117
                                                              Fax (718) 596-1302
                                                              Attorneys for the Debtor




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                          EXHIBIT A
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                                                ORTIZ & ORTIZ, L.L.P.
                                                  · Attorneys at Law
                                                 32-72 Steinway Street, Suite 402
                                                   Astoria, New York 11103


Frank A. Ortiz                                                                                     Tel. (718) S22-1117
Nonna E. Ortiz•                                                                                    Fax (718) S96-1302
                                                                                              email@ortizandortiz.com

Martha J. de Jesus*
* (Admitted in New York and New Jersey)


                                               RETAINER AGREEMENT
                                                            Between

                                                           James Ho

                                                               and

                                                       Ortiz & Ortiz, LLP

                                                      Dated: June 6, 2016

                                          Type of Case:   Chapter 13 Bankruptcy Case

                  You have asked us to commence a chapter 13 case on your behalf. This agreement
            embodies the tenns of our agreement to represent you.

            Scope of Representation

                      Scope of Services and Estimate of Fees

                    We have agreed to provide you with the legal representation customarily necessary to file
            and prosecute your chapter 13 case through confirmation of your plan. Because amount of
            services varies from case to case, we can not state, for certain, how many hours of services were
            will be required to render to you.

                   We have agreed to accept a$5,000 classic retainer to prosecute your case, but reserve the
           right to seek up to$6,SOOO ("Approved Fee") for prosecuting your case, based upon the number
           of hours of legal services your case requires. We base that estimate upon approximately 15 to
           25 hours of attorney services and S-15 hours of paralegal services. If our fees exceed the
           Approved Fee, we will seek the court's approval for additional fees. You may pay those
           additional fees through your chapter 13 plan and by order of the court. We will deduct the
           court's filing fee of$310.00 from the retainer.

                     We agree to provide you the following services under this agreement:


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                          EXHIBIT B
                                       Case 1-16-44229-ess                 Doc 66        Filed 02/28/19           Entered 02/28/19 14:16:10
Time Records                                                                                 In Re James Ho                                              Case No. 16‐44229‐ESS



    Date            User         Activity category                             Description                               Hours    Rate      Amount
  9/16/2016    Norma E. Ortiz    Document Review Review petition and schedules for James Ho.                              0.5    $ 350.00   $   175.00
                                    Document
  9/16/2016      Juan Parodi                     Preparation of petition and schedules for NEO review.                    2.5    $ 100.00   $   250.00
                                   Preparation
                                    Document
  9/20/2016      Juan Parodi                     Preparation of Plan for NEO review and Filing                            0.5    $ 100.00   $    50.00
                                   Preparation
                                    Document
  9/22/2016    Martha De Jesus                   Prepare and finalize emergancy filing                                    0.4    $ 275.00   $   110.00
                                   Preparation
  9/22/2016    Norma E. Ortiz     Document Review Review and finalize Plan. File petition and plan with court.            0.3    $ 350.00   $   105.00

                                  Email Preparation,
  9/22/2016    Martha De Jesus                       Email to Juan regarding contacting client to file petition today.   0.05    $ 275.00   $    13.75
                                 Review or Response

                                  Email Preparation, Multiple emails to and from client regarding
  9/22/2016      Juan Parodi                                                                                             0.15    $ 100.00   $    15.00
                                 Review or Response

                                  Email Preparation, Read and respond to clients email regarding filing information
  9/22/2016    Norma E. Ortiz                                                                                             0.1    $ 350.00   $    35.00
                                 Review or Response and confirmation of plan payment amount.

                                                     Filing petition for client. Email Norma confirmation of filing.
                                  Email Preparation, Serve plan, filed declaration of service, entered deadline in
  9/22/2016      Juan Parodi                                                                                              0.3    $ 100.00   $    30.00
                                 Review or Response calendar, attached schedules

                                                       Read and respond to multiple emails regarding
                                  Email Preparation,
  10/3/2016    Martha De Jesus                                                                                            0.2    $ 275.00   $    55.00
                                 Review or Response
                                                 Read and review letter emailed by client regarding chase
  10/3/2016    Martha De Jesus    Document Review                                                                         0.2    $ 275.00   $    55.00
                                                 mortgage and personal bank ccount.
  10/4/2016    Norma E. Ortiz    Document Review Review and finalize schedules and statements for filing.                 0.5    $ 350.00   $   175.00
                                  Email Preparation, Read and respond to email regarding
  10/4/2016    Martha De Jesus                                                                                           0.05    $ 275.00   $    13.75
                                 Review or Response
                                                       In office meeting with James Ho for
  10/7/2016    Norma E. Ortiz     In office Meeting                                                                        1     $ 350.00   $   350.00

                                                       Telephone call with Chase trying to figure out why HELOC
 10/11/2016    Norma E. Ortiz      Telephone Call                                                                         0.7    $ 350.00   $   245.00
                                                       payment cut in half (0.6); email client re same (0.1).

 10/11/2016    Norma E. Ortiz     Document Review Prepare and file amended chapter 13 plan for James Ho.                  0.4    $ 350.00   $   140.00
                                                       Read and review September income and expense report emailed
 10/31/2016    Norma E. Ortiz     Document Review                                                                         0.2    $ 350.00   $    70.00
                                                       by client.
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Time Records                                                                               In Re James Ho                                               Case No. 16‐44229‐ESS



    Date            User         Activity category                             Description                              Hours       Rate   Amount

                                                      Preparation for 341 Meeting. Review of Claims Register (0.2);
  11/1/2016    Martha De Jesus   Document Review                                                                         1.3    $ 275.00   $   357.50
                                                      Preparation of plan payment and claim analysis (1.1).

  11/1/2016    Martha De Jesus   Document Review Preparation and filing of client's payment advices declaration.         0.2    $ 275.00   $    55.00
                                                  Read and review operating report and bank statements emailed
  11/4/2016    Norma E. Ortiz     Document Review                                                                        0.3    $ 350.00   $   105.00
                                                  by the client.
                                                  Read and review the tax statement from MetLife emailed by the
  11/7/2016    Norma E. Ortiz     Document Review                                                                        0.2    $ 350.00   $    70.00
                                                  client.
                                                   Read, review and save October opertaing report prepared by
 11/14/2016    Martha De Jesus    Document Review                                                                        0.3    $ 275.00   $    82.50
                                                  client.
                                                  Telephone call to trustee's office requesting adjournment for
  12/5/2016    Martha De Jesus     Telephone Call                                                                        0.2    $ 275.00   $    55.00
                                                  hearings.
  12/5/2016    Martha De Jesus     Telephone Call Telepone call to client of his new court dates.                        0.1    $ 275.00   $    27.50
                                  Email Preparation, Read and respond to clients email regarding court date. Sent
  12/5/2016    Martha De Jesus                                                                                           0.1    $ 275.00   $    27.50
                                 Review or Response client a list of all court dates and locations.
                                                      Review November operating report and bank statements sent by
 12/14/2016    Martha De Jesus    Document Review                                                                        0.3    $ 275.00   $    82.50
                                                      client and file with the court.
 12/26/2016    Martha De Jesus    Document Review Review 2015 tax return emailed by client.                              0.1    $ 275.00   $    27.50

                                                     Multiple emails with client regarding 341 meeting. Client
                                  Email Preparation,
 12/26/2016    Norma E. Ortiz                        requested information                                               0.2    $ 350.00   $    70.00
                                 Review or Response

                                                     Return call from John Kirtley regarding clients mortgage
 12/26/2016    Norma E. Ortiz     Multiple Services                                                                      0.2    $ 350.00   $    70.00
                                                     payments.
                                                     Read and respond to client regarding collections letters
                                  Email Preparation,
 12/26/2016    Martha De Jesus                       received by Shapiro, Dicaro, & Barak, LLC. Sent client              0.2    $ 275.00   $    55.00
                                 Review or Response
                                                     information regarding where to send plan payments.

                                  Email Preparation,
 12/26/2016    Martha De Jesus                       Email to client with operating report template and instructions.    0.05   $ 275.00   $    13.75
                                 Review or Response
                                     Document         Gathered all operating reports (Sept. to Nov. 2016) sent by
  1/3/2017     Martha De Jesus                                                                                           0.2    $      -   $      -
                                     Preparation      client into one file (This time was not billed to client.)
                                                      Reviewed and redacted operating reports for filing with the
                                     Document
  1/3/2017     Martha De Jesus                        court. September Report (0.1); October Report (0.1); and           0.3    $ 275.00   $    82.50
                                     Preparation
                                                      November Report (0.1).
                                  Filing Documents
  1/3/2017     Martha De Jesus                         Final Review and filing of Operating Reports for client.          0.2    $ 275.00   $    55.00
                                      With Court
                                       Case 1-16-44229-ess                 Doc 66        Filed 02/28/19            Entered 02/28/19 14:16:10
Time Records                                                                                  In Re James Ho                                            Case No. 16‐44229‐ESS



    Date            User         Activity category                             Description                              Hours    Rate      Amount
                                     Document         Preparation of declarations of contribution for debtor's family
  1/3/2017     Martha De Jesus                                                                                           0.3    $ 275.00   $    82.50
                                     Preparation      and email to client regarding same.
                                     Document
  1/3/2017     Martha De Jesus                        Preparation of second amended plan and filing with the court.      0.2    $ 275.00   $    55.00
                                     Preparation
                                  Email Preparation, Read and respond to multiple emails from the client regarding
  1/3/2017     Martha De Jesus                                                                                           0.3    $ 275.00   $    82.50
                                 Review or Response family contribution declarations.

                                                      Telephone call with the client to discuss family contribution
  1/3/2017     Martha De Jesus     Telephone Call     and explain that                                                   0.2    $ 275.00   $    55.00

                                    Document          Prepare and email DSO declaration to client for his review and
  1/3/2017     Martha De Jesus                                                                                           0.2    $ 275.00   $    55.00
                                   Preparation        execution.
                                  Preparation for
  1/4/2017     Martha De Jesus                        Preparation for Meeting of creditors.                              0.5    $ 275.00   $   137.50
                                Court or Meeting
                               Travel to/from Court
  1/4/2017     Martha De Jesus                        Travel to and from Meeting of creditors.                           1.8    $ 275.00   $   495.00
                                   Appearance
                                                      Meeting with James Ho to review
  1/4/2017     Martha De Jesus     Attend Meeting                                                                        0.7    $ 275.00   $   192.50
                                                 Appearance at Meeting of Creditors (Section 341) with James
  1/4/2017     Martha De Jesus    Court Appearance                                                                       0.5    $ 275.00   $   137.50
                                                 Ho.
                                                 Review letter filed by Chase's lawyers withdrawing objection to
  1/12/2017    Martha De Jesus   Document Review                                                                         0.1    $ 275.00   $    27.50
                                                 James Ho's plan.
  1/12/2017    Martha De Jesus   Document Review Review of Claim 9 filed by Chase today.                                 0.1    $ 275.00   $    27.50
  1/24/2017    Martha De Jesus    Document Review Review and save claim filed by Bank of America.                        0.2    $ 275.00   $    55.00

  1/25/2017    Martha De Jesus    Document Review Review and save claim 11 from Chase Home Mortgage.                     0.2    $ 275.00   $    55.00

                                  Email Preparation, Read and respond to multiple emails from the client regarding
  1/25/2017    Norma E. Ortiz                                                                                            0.1    $ 350.00   $    35.00
                                 Review or Response the case.

                                  Email Preparation, Read and respond to the client regarding making mortgage
  1/27/2017    Norma E. Ortiz                                                                                            0.1    $ 350.00   $    35.00
                                 Review or Response payments to the bank for February

                                  Email Preparation,
  1/31/2017    Norma E. Ortiz                        Multiple emails with the client regarding                           0.2    $ 350.00   $    70.00
                                 Review or Response

  1/31/2017    Norma E. Ortiz     Document Review Review and save claim 12 filed by Ameritas Life Insurance.             0.2    $ 350.00   $    70.00
                                                      Attend meeting with NEO & James Ho regarding
  2/3/2017     Martha De Jesus     Attend Meeting                                                                        0.3    $ 275.00   $    82.50
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Time Records                                                                               In Re James Ho                                                Case No. 16‐44229‐ESS



    Date            User         Activity category                             Description                               Hours    Rate      Amount
                                     Document         Updated declarations of contribution for family and prepared
  2/3/2017     Martha De Jesus                                                                                            0.1    $ 275.00   $    27.50
                                     Preparation
                                  Email Preparation, Review emails from client containing bank records for business
  2/6/2017     Martha De Jesus                                                                                            0.2    $ 275.00   $    55.00
                                 Review or Response account.

                                  Email Preparation, Review and save bank statements sent by the client from March
  2/6/2017       Juan Parodi                                                                                              0.3    $ 100.00   $    30.00
                                 Review or Response 2016 to January 2017

                                                 Review documents sent by client via email; Review declaration
                                                 of contributions from wife and daughter; file declarations with
                                                 the court; review bank statements emailed from March 2016 -
  2/8/2017     Martha De Jesus   Document Review                                                                          1.4    $ 275.00   $   385.00
                                                 January 2017 for 3 bank accounts; review operating report for
                                                 December 2016; redact banking information; file operating
                                                 report with the court.

                                     Document         Redaction of bank statements for the pre-petition accounts for 6
  2/8/2017     Martha De Jesus                                                                                            0.7    $ 275.00   $   192.50
                                     Preparation      months for James Ho to turn over to trustee.
                                      Document
  3/6/2017     Martha De Jesus                        Amend and file schedules A/B, C,I, J, and SOFA                      0.3    $ 275.00   $    82.50
                                     Preparation
                                      Document        Prepare and email DSO to client, review signed document and
  3/6/2017     Martha De Jesus                                                                                            0.2    $ 275.00   $    55.00
                                     Preparation      file with court.
                                      Document        Prepare and file Declaration regarding post-petition mortgage
  3/6/2017     Martha De Jesus                                                                                            0.4    $ 275.00   $   110.00
                                     Preparation      payments.
  4/27/2017    Norma E. Ortiz     Document Review Review trustee motion to dismiss                                        0.2    $ 350.00   $    70.00
                                      Document        Prepare and file declaration of tax retruns and domestic support
  5/3/2017     Martha De Jesus                                                                                            0.3    $ 275.00   $    82.50
                                     Preparation      obligations.
                                      Document        Amend and file Declaration regarding Post petition mortgage
  5/8/2017     Martha De Jesus                                                                                            0.3    $ 275.00   $    82.50
                                     Preparation      payments
                                      Document
  5/8/2017     Martha De Jesus                        Prepare and file Response to Trustee's motion to dismiss.           0.3    $ 275.00   $    82.50
                                     Preparation
                                                      Serve Response to Motion to Dismiss. File declaration of
  5/8/2017     Martha De Jesus    Multiple Services                                                                       0.2    $ 275.00   $    55.00
                                                      service with the court.
                                                      Reviewed and redacted operating reports for filing with the
                                     Document
  6/7/2017     Martha De Jesus                        court. January 2017 Report (0.1); February 2017 Report (0.1);       0.5    $ 275.00   $   137.50
                                     Preparation
                                                      March 2017 Report (0.1); and April 2017 Report (0.1).

                                     Document         Prepare and file declaration of Debtor in support of
  7/14/2017    Martha De Jesus                                                                                            0.3    $ 275.00   $    82.50
                                     Preparation      confirmation.
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Time Records                                                                             In Re James Ho                                              Case No. 16‐44229‐ESS



    Date            User         Activity category                           Description                             Hours    Rate      Amount
                                     Document        Reviewed and redacted operating reports for filing with the
  7/14/2017    Martha De Jesus                                                                                        0.2    $ 275.00   $    55.00
                                     Preparation     court. May 2017 Report (0.1); and June 2017 Report.
                                                     Reviewed and redacted operating reports for filing with the
                                     Document
 10/16/2017    Martha De Jesus                       court. July 2017 Report (0.1); August 2017 Report (0.1); and     0.3    $ 275.00   $    82.50
                                     Preparation
                                                     September 2017 Report (0.1).
                                     Document
 11/14/2017    Martha De Jesus                       Prepare and file Third Amended Plan for the debtor.              0.4    $ 275.00   $   110.00
                                     Preparation
                                                   Print and serve chapter 13 plan on all creditors. Prepare
 11/15/2017      Juan Parodi       Administrative                                                                     0.3    $ 100.00   $    30.00
                                                   declaration of service for MDJ filing.
 11/15/2017    Martha De Jesus     Administrative  Filing affidavit of service of 3rd Amended Plan                    0.1    $ 275.00   $    27.50
                                                   Print and serve chapter 13 plan on Ameritas Life Ins. Prepare
  12/1/2017      Juan Parodi       Administrative                                                                     0.3    $ 100.00   $    30.00
                                                   declaration of service for MDJ filing.
                                     Document      Prepare and file amended schedules I & J. File declaration of
  12/1/2017    Martha De Jesus                                                                                        0.4    $ 275.00   $   110.00
                                    Preparation    service of plan prepared by Juan.
 12/11/2017    Martha De Jesus    Court Appearance Appearance at confirmation hearing: plan confirmed.                 1     $ 275.00   $   275.00
                                                   Review motion for rellief from stay filed by Chase for 2nd
  7/31/2018    Martha De Jesus    Document Review                                                                     0.2    $ 275.00   $    55.00
                                                   Mortgage
                                                   Prepare payment history to send to Chase's attorney and request
                                     Document      adjournment of next week's hearing. Send Shapiro and DiCaro
  8/1/2018     Martha De Jesus                                                                                        1.2    $ 275.00   $   330.00
                                    Preparation    fax and email with payment history and request for an
                                                   adjournment.
                                                   Telephone call to Nicole, attorney for chase,
  8/2/2018     Martha De Jesus     Telephone Call                                                                     0.1    $ 275.00   $    27.50

                                                     Call James regarding curing his mortgage arrears:

  8/28/2018     Cynthia Narea      Telephone Call                                                                     0.1    $ 100.00   $    10.00



                                  Email Preparation, Review and respond to email from paralegal at Shapiro &
  9/4/2018     Martha De Jesus                                                                                        0.1    $ 275.00   $    27.50
                                 Review or Response DiCaro regarding
                                      Document       Prepare response to Chase Lift Stay Motion and serve to
  9/4/2018     Martha De Jesus                                                                                        0.6    $ 275.00   $   165.00
                                     Preparation     attorney for Chase.
                                  Email Preparation, Review and respond to emails regarding
  9/10/2018    Martha De Jesus                                                                                        0.2    $ 275.00   $    55.00
                                 Review or Response
                                                     Review conditional order proposed in Ho by Chase to cure
 10/10/2018    Martha De Jesus    Document Review                                                                     0.1    $ 275.00   $    27.50
                                                     arrears over 9 months.
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Time Records                                                                               In Re James Ho                                              Case No. 16‐44229‐ESS



    Date            User         Activity category                             Description                             Hours    Rate      Amount

                                  Email Preparation, Prepare email to client
 10/10/2018    Martha De Jesus                                                                                          0.1    $ 275.00   $    27.50
                                 Review or Response

                                                      Telephone call with James Ho to review
 10/11/2018    Martha De Jesus     Telephone Call                                                                       0.2    $ 275.00   $    55.00


                                  Email Preparation, Scanned signed agreement
 10/11/2018    Martha De Jesus                                                                                          0.2    $ 275.00   $    55.00
                                 Review or Response
                                                      Review status of case, signed conditional order, update NEO
 10/16/2018    Athena Gonzalez    Document Review                                                                       0.2    $ 100.00   $    20.00
                                                      and enter tasks.
 11/14/2018    Athena Gonzalez    Document Review Review plan payments and claims for Fee application filing.           0.3    $ 100.00   $    30.00
                                 Preparation of Time Review and prepare time records in preparation of First Interim
  12/3/2018    Athena Gonzalez                                                                                          1.5    $ 100.00   $   150.00
                                      Records        Fee Application
                                                     Prepare Fee App, Notice, Cover page, and Time. Review
                                      Document
  12/7/2018    Athena Gonzalez                       docket and NDC for payment information, review plan for             2     $ 100.00   $   200.00
                                     Preparation
                                                     information.
 12/12/2018    Martha De Jesus    Document Review Review fee application prepared by AVG and make edits.                0.5    $ 275.00   $   137.50
                                                      Review MDJ notes and discuss pre-petition work and
 12/12/2018    Athena Gonzalez    Document Review                                                                       0.3    $ 100.00   $    30.00
                                                      payments.
                                      Document        Review Fee Application corrections made by Martha and make
 12/13/2018    Athena Gonzalez                                                                                          0.4    $ 100.00   $    40.00
                                     Preparation      corrections accordingly to finalize.
                                      Document        Finalize fee application and include time for Fee application
 12/18/2018    Athena Gonzalez                                                                                          0.5    $ 100.00   $    50.00
                                     Preparation      preparation and Court appearance for fee application.
                                                    Print draft of James ho fee application for Norma and
 12/19/2018    Athena Gonzalez    Document Review                                                                        1     $ 100.00   $   100.00
                                                    Martha review; make edits to application.
                                                    Review docket, correspondence, compose list and generate bill
 12/21/2018    Athena Gonzalez    Multiple Services                                                                      2     $ 100.00   $   200.00
                                                    for fee application.
                                  Email Preparation,
 12/26/2018    Athena Gonzalez                       Review emails from 2016 to present for final fee application.       1     $ 100.00   $   100.00
                                 Review or Response

                                                      Redact, edit and finalize time records for O & O Fee
                                    Document
 1/15/2019 Athena Gonzalez                            application. Compose final application for NEO review             0.8    $ 100.00   $    80.00
                                    Preparation
                                                      and approval
                                    Document          Finalize fee application and include time for Fee
 1/15/2019     Martha De Jesus                                                                                           2     $ 275.00   $   550.00
                                    Preparation       application preparation.
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Time Records                                                                   In Re James Ho                                             Case No. 16‐44229‐ESS



    Date         User       Activity category                        Description                         Hours    Rate       Amount
                                                                                                TOTAL     43.0               $ 9,646.25
                                                                                                         Hours                Amount




                                                     EXPENSES
   Date          Type                                      Description                                       Amount
   9/22/2016   Filing Fee                             Chapter 13 Filing Fee                              $        310.00
                                    Postage for mailing of Chapter 13 plan ($0.47 x 15 = $7.05)
   9/22/2016    Mailing                                                                                  $            8.55
                                             Pages for Printed (2 x $0.05 x 15= $1.50)
                             Postage for mailing of First amended Chapter 13 plan ($0.47 x 15 = $7.05)
   10/7/2016    Mailing                                                                                  $            8.55
                                             Pages for Printed (2 x $0.05 x 15= $1.50)
                            Postage for mailing of Second amended Chapter 13 plan ($0.47 x 15 = $7.05)
   11/2/2016    Mailing                                                                                 $             8.55
                                              Pages for Printed (2 x $0.05 x 15= $1.50)
                            Postage for mailing of Debtor's Response to Motion to Dismiss ($0.47 x 15 =
    5/8/2017    Mailing                                         $7.05)                                  $             9.30
                                              Pages for Printed (3 x $0.05 x 15= $2.25)
                             Postage for mailing of Third amended Chapter 13 plan ($0.47 x 15 = $7.05)
  10/24/2017    Mailing                                                                                 $             8.55
                                              Pages for Printed (2 x $0.05 x 15= $1.50)
                                                                                                TOTAL $           353.50
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                      PROPOSED ORDER
      Case 1-16-44229-ess             Doc 66       Filed 02/28/19    Entered 02/28/19 14:16:10




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re
                                                                          Case No. 16-44229-ESS
JAMES HO,
a.k.a. JAMES SING CHAN CHO,
a.k.a. SING C CHAN-HO,                                                     Chapter 13
a.k.a. JAMES SING CHAM HO,
a.k.a. JAMES SING HO,

                                    Debtor.
-------------------------------------------------------x


            ORDER GRANTING APPLICATION FOR ALLOWANCE OF FINAL
               COMPENSATION AND REIMBURSEMENT OF EXPENSES

        Upon consideration of Application for Allowance of Final Compensation and

Reimbursement of Expenses (the “Application”) for professional services rendered and expenses

incurred during the period commencing September 22, 2016, through January 15, 2019; and a

hearing having been held before this court to consider the Application on March 14, 2019; and

notice having been given pursuant to Federal Rules of Bankruptcy Procedure 2002 (a)(6) and

(c)(2); and due consideration having been given to any responses thereto; and sufficient cause

having been shown therefor, it is hereby:

        ORDERED that the Application is granted to the extent set forth in the attached

Schedule.

Dated: Brooklyn, New York
       March ____, 2019


                                                                    Hon. Elizabeth S. Stong
                                                                    United States Bankruptcy Judge
                                                                    Eastern District of New York
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Case No.: 16-44229                                                                                                   Schedule C
Case Name: James Ho,
            a.k.a James Sing Chan Cho,
            a.k.a Sing C Chan-Ho,
            a.k.a James Sing Cham Ho,
            a.k.a James Sing Ho

                                                   Chapter 13 Fee Application
                                       Period: September 22, 2016 through January 15, 2019

        (1)                 (2)          (3)            (4)            (5)           (6)          (7)          (8)          (9)
      Applicant         Initial Fee   Amount        Amount of       Amount        Additional   Additional   Amount of    Amount of
                         Charged      of Initial    Initial Fee     of Initial      Fees       Expenses     Additional   Additional
                                      Fee Paid       Filed as       Expenses      Requested    Requested      Fee        Expenses
                                                   Administrative   Collected                               Awarded      Awarded
                                                      Claim
  Ortiz & Ortiz, LLP     $3,500        $3,500           $0             $0         $6,781.25     $353.50      $6,781.25    $353.50
